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                                 UNITED    STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF INDIANA
                                                         HAMMOND DIVISION

In re: MARK ALLEN KUCSERA                                                                             Case No.: 11-24765 JPK

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
PAUL CHAEL, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 12/14/2011.
2) The plan was confirmed on 03/06/2012.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on 01/25/2016.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 12/21/2015, 12/08/2016.
5) The case was completed on 12/27/2016.
6) Number of months from filing or conversion to last payment: 60.
7) Number of months case was pending: 61.
8) Total value of assets abandoned by court order: 125,000.00.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: 45,380.45.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:          $69,104.46
        Less amount refunded to debtor:                          $.00
 NET RECEIPTS:                                                                $69,104.46

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                               $2,891.00
        Court Costs:                                                               $.00
        Trustee Expenses and Compensation:                                   $1,908.50
        Other:                                                                  $70.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                              $4,869.50

 Attorney fees paid and disclosed by debtor:               $620.00




 Scheduled Creditors:
Creditor                                                     Claim            Claim            Claim          Principal           Interest
Name                                         Class           Scheduled        Asserted         Allowed        Paid                Paid
ALBERTS                                      Unsecured           400.00              NA              NA                .00               .00
AMEX                                         Unsecured           367.00              NA              NA                .00               .00
CHASE                                        Unsecured          5,583.00       5,909.43        5,909.43          455.38                  .00
CHASE                                        Unsecured          9,207.00       9,548.55        9,548.55          734.54                  .00
CHASE                                        Unsecured        15,386.00       15,841.44       15,841.44        1,220.74                  .00
CITIZENS BANK                                Secured          12,494.00              NA              NA                .00               .00
DAHLIA K MCDANIEL                            Unsecured                  NA           NA              NA                .00               .00
ECAST                                        Unsecured          7,459.00       7,878.95        7,878.95          606.11                  .00
ECAST SETTLEMENT CORP                        Unsecured           229.00          300.32          300.32           17.43                  .00
HUNTINGTON NATIONAL BANK                     Secured          10,706.00       10,653.67       10,653.67       10,653.67           1,370.25
INDIANA DEPT OF REVENUE                      Unsecured                  NA           NA              NA                .00               .00
INTERNAL REVENUE SERVICE                     Priority            632.50          617.96          617.96          617.96                  .00
INTERNAL REVENUE SERVICE                     Unsecured                  NA        40.42           40.42                .00               .00
INTERNAL REVENUE SERVICE                     Unsecured                  NA           NA              NA                .00               .00
KOHLS/CAPITAL ONE                            Unsecured          2,351.00             NA              NA                .00               .00

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                                  UNITED    STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF INDIANA
                                                      HAMMOND DIVISION

In re: MARK ALLEN KUCSERA                                                                                 Case No.: 11-24765 JPK

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim                Claim            Claim         Principal           Interest
Name                                       Class              Scheduled            Asserted         Allowed       Paid                Paid
OCWEN                                      Secured               3,000.00           2,849.89        2,849.89       2,849.89                  .00
OCWEN LOAN SERVICING LLC                   Secured            101,935.00          102,737.48      40,355.61       40,355.61                  .00
PRA RECEIVABLES MANAGEMENT                 Unsecured             1,850.00           2,075.06        2,075.06         159.91                  .00
PRA RECEIVABLES MANAGEMENT                 Unsecured               396.00            485.47          485.47           37.39                  .00
PRA RECEIVABLES MANAGEMENT                 Unsecured             2,097.00           2,247.65        2,247.65         173.20                  .00
PRA RECEIVABLES MANAGEMENT                 Unsecured             1,275.00           1,451.73        1,451.73         111.87                  .00
STATE FARM LITIGATION                      Unsecured                  NA                 NA              NA              .00                 .00
TECH CREDIT UNION                          Secured               4,615.00           4,349.19        4,349.19       4,349.19             521.82

 Summary of Disbursements to Creditors:                                                             Claim         Principal           Interest
                                                                                                    Allowed       Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                            40,355.61       40,355.61                .00
     Mortgage Arrearage:                                                                           2,849.89        2,849.89                .00
     Debt Secured by Vehicle:                                                                     15,002.86       15,002.86           1,892.07
     All Other Secured:                                                                                 .00             .00                .00
 TOTAL SECURED:                                                                                   58,208.36       58,208.36           1,892.07

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                        .00             .00                  .00
     Domestic Support Ongoing:                                                                          .00             .00                  .00
     All Other Priority:                                                                             617.96          617.96                  .00
 TOTAL PRIORITY:                                                                                     617.96          617.96                  .00

 GENERAL UNSECURED PAYMENTS:                                                                      45,779.02        3,516.57                  .00

 Disbursements:
        Expenses of Administration:                                                              $4,869.50
        Disbursements to Creditors:                                                             $64,234.96
 TOTAL DISBURSEMENTS:                                                                                                              $69,104.46

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     01/31/2017                                     By:     /s/PAUL CHAEL
                                                                                    Standing Chapter 13 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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 IN RE:                                                                          CASE NO:
    MARK ALLEN KUCSERA                                                              11-24765 JPK




                                          CERTIFICATE OF SERVICE




    The undersigned hereby certifies that a copy of the Final Report and Account was sent electronically
    or by ordinary United States mail, postage prepaid, on the date noted below, to the debtor, attorney
    for the debtor, and the United States Trustee.




    Date: February 21, 2017                                 /s/PAUL CHAEL
                                                            PAUL CHAEL
